                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION                                      Motion GRANTED.
                                                                                       Hearing reset for
                                                                                       7/16/14 at 3:00 p.m.
UNITED STATES OF AMERICA                                   Case No. 3:09-cr-00099

            v.
                                                           JUDGE TRAUGER
CALVIN PRICE



                   MOTION TO CONTINUE REVOCATION HEARING

       The United States, by and through David Rivera, United States Attorney for the Middle

District of Tennessee, and Lynne T. Ingram, Assistant United States Attorney, respectfully

moves the Court to continue the revocation hearing currently scheduled for June 20, 2014 to until

sometime after July 7, 2014 at a time convenient for the Court.

       The United States seeks a continuance due to the undersigned being out of the district

until Friday, June 20, 2014. The United States had scheduled to be out of district prior to the

current revocation date being set.

       In addition, the Probation Officer assigned to this case, Kimberly Haney, will be out of

the office on June 20, 2014, as well as well as the following week attending a conference.

       The undersigned has spoken with defense counsel and he does not oppose this motion.

       WHEREFORE, the United States respectfully asks that the Court GRANT the

government’s motion for a continuance.

                                             Respectfully submitted,

                                             DAVID RIVERA
                                             United States Attorney




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